Case 10519: PMGKKBE; Document 1 Filed 02/19/15 Page 1 of 19
Tes EY Oy

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

134

et eee ee een ee ee ee ee eee een eee x
MOUNT VERNON FIRE INSURANCE COMPANY, Docket No.:
Plaintiff,
COMPLAINT
-against-
STAR WARS TECHNOLOGY SYSTEMS, \E G fe W lB
INTEGRATED BUILDING CONTROLS CORP.,
MERCEDES T. GUILLEN, as Administrator of the Estate .
of JOSE ELIAS GUILLEN, Deceased, MERCEDES T. FEB 79 2018 IL
GUILLEN, MAG ELECTRICAL CONTRACTING CORP., a
SL GREEN REALTY, SL GREEN OPERATING U.S.D.C. 8.D. N.Y.
PARTNERSHIP, LP, SL GREEN MANAGEMENT LLC, CASHIERS

100 CHURCH PARTICIPATION FUNDING, LLC, 100
CHURCH HOLDING CO., LLC, 100 CHURCH FEE
OWNER, LLC and 100 CHURCH OWNER, LLC,

Defendants.

Plaintiff Mount Vernon Fire Insurance Company (“Mount Vernon”), by and through its
attorneys, Miranda Sambursky Slone Sklarin Verveniotis, LLP, complaining of defendants Star
Wars Technology Systems (“Star Wars”), Integrated Building Controls Corp. (“IBC Corp.”), 100
Church Fee Owner, LLC, Mercedes T. Guillen, as Administrator of the Estate of Jose Elias
Guillen (the “Estate of Jose Elias Guillen”), Mercedes T, Guillen, MAG Electrical Contracting
Corp. (“MAG”), SL Green Realty, SL Green Operating Partnership, LP, SL Green Management
LLC, 100 Church Participation Funding, LLC, 100 Church Holding Co., LLC, 100 Church Fee
Owner, LLC and 100 Church Owner, LLC, alleges upon information and belief, as follows:

JHE PARTIES

1. At all relevant times, plaintiff Mount Vernon was and still is a North Dakota
corporation, and is a citizen and domiciliary of that state and the State of Pennsylvania with its

principal place of business located at 1190 Devon Park Drive, Wayne, Pennsylvania 19087.

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 2of19

Pennsylvania 19087.

2. Upon information and belief, at all times hereinafter mentioned, defendant Star

Wars was and still is a Florida Corporation, and a resident and a citizen of the State of Florida,
.tesiding at and/or maintaining an address located at 3601 Northwest 55" Street, Suite 104,
Miami, Florida 33142.

3. Upon information and belief, at all times hereinafter mentioned, defendant IBC,
Corp. was and still is a New Jersey corporation duly organized and existing pursuant to the laws
of the State of New Jersey, and a New Jersey citizen with its principal place of business located
at 12 Stults Road, Suite 135, Dayton, New Jersey 08810.

4, Upon information and belief, defendant Estate of Jose Elias Guillen was and still
is an estate duly established and existing pursuant to the laws of the State of New York, having
an address located at 480 St. Nicholas Avenue, Apt. 4J, New York, New York 10027.

5. Upon information and belief, defendant Mercedes T. Guillen was and still is a
citizen and resident of the State of New York, maintaining an address located at 480 St. Nicholas
Avenue, Apt. 4J, New York, New York 10027.

6. Upon information and belief, defendant MAG was and still is a New York
Domestic Corporation duly organized and existing pursuant to the laws of the State of New
York, and a New York citizen having a principal place of business located at 30 Broad Street,
New York, New York 10004,

7. Upon information and belief, defendants SL Green Realty, SL Green Operating
Partnership, LP, SL Green Management (hereinafter also referred to as the “SL Green Entities”)
were and still are New York Domestic Corporations duly organized and existing pursuant to the

laws of the State of New York, and New York citizens having a principal place of business

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 3of 19

located at 420 Lexington Avenue, New York, New York 10170.

8, Upon information and belief, at all times hereinafter mentioned, defendants 100
Church Participation Funding, LLC, 100 Church Holding Co., LLC, 100 Church Fee Owner,
LLC and 100 Church Owner, LLC (hereinafter also referred to as the “100 Church Entities”)
were and still are Delaware Corporations duly organized and existing pursuant to the laws of the
State of Delaware, and residents of the State of New York citizen having a principal place of
business located at 875 Avenue of the Americas, New York, New York 10001-3507,

JURISDICTION

9. This Court has subject matter jurisdiction due to diversity of citizenship and an
amount in controversy in excess of $75,000, exclusive of interest and costs, pursuant to 28
U.S.C, § 1332 and 28 U.S.C. § 1367(a), in that serious bodily injuries are asserted in the

underlying action filed in the Supreme Court of the State of New York, County of New York,

captioned as Mercedes T. Guillen, as Administrator of the Estate of Jose Elias Guillen,

Deceased, and Mercedes T. Guillen, Individually v. 100 Church Fee Owner, LLC, under Index

Number 162612/14 (the “Guillen Action”), and this coverage action arises out of the Guillen

Action.

10. Venue is proper in this district pursuant to 28 U.S.C. § 1391 in that the clain
arose in this district.

11. A controversy exists between the parties as to the coverage afforded under
primary and excess insurance policies issued by Mount Vernon to defendant Star Wars, as well
as the provisions of said policies, in that plaintiff Mount Vernon seeks an order declaring that it
has no duty to defend and indemnify defendants Star Wars, IBC Corp., the Estate of Jose Elias

Guillen, Mercedes T. Guillen, MAG, the SL Green Entities, and the 100 Church Entities in the
Case 1:15-cv-01184-KBF Documenti1. Filed 02/19/15 Page 4of19

underlying Valdez Guillen Action.

12. Circumstances exist that justify the determination by this Court, pursuant to 28
U.S.C. § 2201, of the rights and obligations of the parties as to the provisions of the aforesaid
policy of insurance, a determination that will be beneficial to both plaintiff and defendants,
relevant to the Guillen Action.

13. | Mount Vernon has no adequate remedy at law.

AS AND FOR A FIRST CAUSE OF ACTION
14. Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “13” as if fully set forth at length herein.
15. On, June 10, 2011, Mount Vernon issued policy number CL2574786A to Star
Wars for the policy period of June 10, 2011 to June 10, 2012 (the “Mount Vernon primary
policy’).
16. The Mount Vernon primary policy does not cover the claims asserted in the
complaint filed in the underlying Guillen Action.
17, | Mount Vernon properly denied coverage under the Mount Vernon primary policy
to the defendants named herein with respect to the claims asserted in underlying Guillen Action.
18. The Mount Vernon primary policy includes the following language:
SECTION 1-COVERAGES
COVERAGE A BODILY INJURY AND
PROPERTY DAMAGE LIABILITY

1. Insuring Agreement

a. We will pay those sums that the insured becomes obligated to pay as
damages because of “bodily injury” or “property damage” to which this
insurance applies, We will have the right and duty to defend the insured
against any “suit” seeking those damages. However, we will have no duty
to defend the insured against any “suit” seeking damages for “bodily .
injury” or “property damage” to which this insurance does not apply. We

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page5of19

may, at or discretion, investigate any “occurrence” and settle any claim or
suit” that may result.

This insurance applies to “bodily injury” and “property damage” only if:

(1) The “bodily injury” or “property damage” is caused by an
“occurrence” that takes place in the “coverage territory”;

(2) The “bodily injury” or “property damage” occurs during the policy
period.

# *# *

19, The Mount Vernon primary policy’s definitions section, SECTION V -

DEFINITIONS, provides in relevant part as follows:

16.

“Products-completed operations hazard”

a. Includes all “bodily injury” and “property damage” occurring away
from premises you own or rent and arising out of “your product’ or
“your work” except

(1) Products that are still in your physical possession; or
(2) Work that has not yet been completed or abandoned....

b. “your work” will be deemed completed at the earliest of the following
times:

(1). When all of the work called for in your contract has been completed.

(2). When all of the work to be done at the job site has been completed if
you contract calls for work at more than one job site.

(3). When that part of the work done at a job site has been put to its
intended use by any person or organization other than another contractor
or subcontractor working on the same project.

Work that may need service, maintenance, correction, repair or
replacement, but which is otherwise complete, will be treated as
completed.

20. In addition, the Mount Vernon primary policy includes the following

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 6of19

Endorsement CG 21 04 11 85, which states as follows:
EXCLUSION - PRODUCTS-COMPLETED OPERATIONS HAZARD
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

This insurance does not include “bodily injury” or “property damage” included within
the “products-completed operations hazard.”

21. The Products-Completed Operations Hazard exclusion above reflects that the
Mount Vernon primary policy excludes coverage for any bodily injury occurring away from
premises owned or rented by Star Wars.

22. To the extent that the wrongful death and bodily injury claims alleged in the
Guillen Action occurred away from the premises owned or rented by Star Wars, there is no
coverage for the defendants herein under the Mount Vernon primary policy with respect to the
claims asserted in the Guillen Action.

23. Mount Vernon properly disclaimed coverage to the defendants for the claims
herein.

24. Accordingly, Mount Vernon does not owe any of the defendants a defense or
indemnity for any of the liability claims alleged in the underlying Guillen Action.

25. By reason of the foregoing, Mount Vernon is entitled to an order declaring that it
has no duty to defend or indemnify any of the defendants herein with respect to any and all of the
claims asserted in the underlying Guillen Action.

AS AND FOR A SECOND CAUSE OF ACTION

26. Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “25” as if fully set forth at length herein.

27. The Mount Vernon primary policy contains the following endorsement number L

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 7 of 19

500 (1/06) (the “Bodily Injury Exclusion”), which states as follows:
This Endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

BODILY INJURY EXCLUSION - ALL EMPLOYEES, VOLUNTEER WORKERS,
TEMPORARY WORKERS, CASUAL LABORERS,
CONTRACTORS, AND SUBCONTRACTORS |

I. Paragraph 2, Exclusions subparagraph e. of Section I— Coverages, Coverage A Bodily
Injury and Property Damage Liability is deleted in its entirety and replaced with the
following:

1. “Bodily injury” to any “employee”, “volunteer worker”, “temporary worker” or
“casual laborer” arising out of or in the course of:

(a) Employment by any insured; or
(b) Performing duties related to the conduct of any insured’s business;

2. “Bodily injury” to any contractor, subcontractor or any “employee”, “volunteer —
worker”, “temporary worker” or “casual laborer” of any contractor or subcontractor

arising out of or in the course of the rendering or performing services of any kind or

nature whatsoever by such contractor, subcontractor or “employee”, “volunteer worker”,

“temporary worker” or “casual laborer” of such contractor or subcontractor for which any

insured may become liable in any capacity; or

3, Any obligation of any insured to indemnify or contribute with another because of
damages arising out of such “bodily injury”; or

4. “Bodily injury” sustained by the spouse, child, patent, brother or sister of any

“employee”, “volunteer worker”, “temporary worker” or “casual laborer” of any insured,
or of a vontractor, subcontractor, or of any “employee”, “volunteer worker”, “temporary
worker” or “casual laborer” of any contractor or subcontractor as a consequence of any
injury to any person as set forth in paragraphs 1. and 2. of this endorsement.

This exclusion applies to all claims and “suits” by any person or organization for
damages because of such “bodily injury”, including damages for care and loss of services
and any claim under which any insured may be held liable under any Workers’
Compensation law,

“Casual laborer” means any person providing work or materials to any insured for
compensation of any type.

II. As respects this exclusion solely, Section IV. Commercial General Liability
Conditions, item 7.Separation of Insureds is deleted in its entirety and replaced with the

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 8 of 19

following:
7. Separation of Insureds

Except with respect to the Limits of Insurance, this exclusion and to any rights or duties
specifically assigned in this coverage part to the first Named Insured, this insurance
applies:

a. As if each Named Insured were the only Named Insured; and
b. Separately to each insured against whom claim is made or “suit” is brought
All other terms and conditions of this policy remain unchanged. This endorsement is a

part of your policy and takes effect on the effective date of your policy unless another
effective date is shown.

28. The claims alleged in the Guillen Action allege that Jose Guillen was seriously
injured and died after falling from an elevation while in the course of performing work at the
premises owned by defendant 100 Church Fee Owner, LLC.

29, Upon information and belief, Mount Vernon’s named insured, Star Wars,
employed Jose Guillen when Mr. Guillen’s alleged accident and injuries above took place.

30. The Mount Vernon primary policy does not cover any of the claims asserted in
the Guillen Action by operation of the Bodily Injury Exclusion quoted above.

31. | Mount Vernon timely and properly disclaimed coverage to its named insured, Star
Wars, and all the other defendants herein, premised upon the terms of the Bodily Injury
Exclusion quoted above as to the claims asserted in the Guillen Action.

32. Mount Vernon is therefore entitled to a declaration that it has no obligation to
defend or indemnify all of the defendants herein as to the claims asserted in the underlying

Guillen Action.

33. Accordingly, Mount Vernon demands judgment declaring that it has no obligation

to defend or indemnify any of the defendants herein as to the claims asserted in the underlying

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 9of19

Guillen Action.

AS AND FOR A THIRD CAUSE OF ACTION

34, Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “33” as if fully set forth at length herein.

35. The Mount Vernon primary policy also contains the following exclusion of

coverage (L 278 (11/07)), known as the “Independent Contractors/Subcontractors Exclusion”:

INDEPENDENT CONTRACTORS/SUBCONTRACTORS EXCLUSION
I. It is agreed that this policy shall not apply to “bodily injury”, “property
damage”, or “personal and advertising injury” arising out of the operations
performed for any insured by any contractor(s) or acts or omissions of any
insured in the selection, retention or supervision of any contractor(s).

Il. As respects this exclusion solely, Section IV. Commercial General
Liability Conditions, item 7. Separation of Insureds is deleted in its —
entirety and replaced with the following:

7. Separation of Insureds

Except with respect to the Limits of Insurance, this Independent
Contractors/Subcontractors Exclusion, and to any rights or duties specifically
assigned in this coverage part to the first named Insured, this insurance applies:

a. As if each Named Insured were the only Named Insured; and
b. Separately to each insured against whom claim is made or “suit”
brought |

All other terms and conditions of this policy remain unchanged. This
endorsement is a part of your policy and takes effect on the effective date of your
policy and takes effect on the effective date of your policy unless another
effective date is shown,

36. To the extent the wrongful death and/or bodily injury claims alleged in the
Guillen Action occurred as a result of any negligent work arising out of the operations performed
on behaif of Mount Vernon’s named insured, Star Wars, by any contractor(s) or acts or

omissions of Star Wars in the selection, retention or supervision of any contractor(s), Mount

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 10 of 19

Vernon has no duty to defend or indemnify the defendants herein against the claims asserted in
the underlying Guillen Action pursuant to the unambiguous terms of the Mount Vernon primary
policy’s Independent Contractors/Subcontractors Exclusion above.

37. Mount Vernon timely and properly disclaimed coverage to its named insured, Star
Wars, and the defendants herein premised upon the terms of the Independent
Contractors/Subcontractors Exclusion quoted above as to the claims asserted in the Guillen
Action.

38. Mount Vernon is therefore entitled to a declaration that it has no obligation to
defend or indemnify the defendants herein as to the claims assetied in the underlying Guillen
Action.

39. Accordingly, Mount Vernon demands judgment declaring that it has no obligation
to defend or indemnify any of the defendants herein as to the claims asserted in the underlying
Guillen Action.

AS AND FOR A FOURTH CAUSE OF ACTION

40. Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “39” as if fully set forth at length herein.

41. Coverage for the claims asserted in the Guillen Action was properly denied to
defendant Star Wars and the other defendants herein pursuant to the terms of the Premises
Limitation Endorsement (L, 685 03/06) included in the Mount Vernon primary policy, which
provides as follows:

PREMISES LIMITATION ENDORSEMENT
SCHEDULE*

Premises:

* Information required to complete this Schedule, if not shown on this endorsement, will

10

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 11 of 19

be shown in the Declarations

It is agreed SECTION I - COVERAGES; COVERAGE A BODILY INJURY
AND PROPERTY DAMAGE LIABILITY; 1. Insuring Agreement, b. () is
deleted in its entirety and replaced with the following:

b. This insurance applies to “bodily injury” and “property damage” only if: ©
(1} The “bodily injury” or “property damage” is caused by an
“occurrence” that takes place within the interior portion of a leased —
building or other structure set forth in this endorsement; or at an

owned premises, site, or location set forth in this endorsement.

This insurance shall not apply to an “occurrence” that takes place
at any other premises, site or location.

The company does not have the duty to defend any “suit” seeking
damages on account of any “occurrence” that takes place at any premises,
site or location other than the premises, site(s) or location(s) listed above.
If no entry appears above, this endorsement applies to all premises, site(s)
or location(s) listed in the Declarations or Supplemental Declarations page
of this policy. —

This endorsement shall not preclude coverage as provided under an
“msured contract”.

All other terms and conditions of this policy remain unchanged. This

endorsement is a part of your policy and takes effect on the effective date of your

policy unless another effective date is shown.

42, The Mount Vernon primary policy’s Declarations page lists the location of all
premises owned, rented or occupied by the named insured, Star Wars, as follows: 3601
Northwest 55" Street, # 104, Miami, Florida 33142.

43. As alleged in the underlying Guillen Action, Jose Elias Guillen’s purported
incident, injury and death was not caused by, and did not occur in, any portion of the insured
premises located at 3601 Northwest 55" Street, # 104, Miami, Florida 33142, but rather, the

alleged accident at issue took place at 100 Church Street, New York, New York.

44. Thus, the bodily injury and wrongful death claimed by the plaintiffs in the Guillen

Action did not take place on the premises owned and/or leased by defendant Star Wars.

11
Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 12 of 19

45. Accordingly, since the claimed accident at issue in the Guillen Action did not
occur at the insured premises identified in the Mount Vernon primary policy, there is no
coverage to any of the defendants herein as to the claims asserted in the Guillen Action, as the
Premises Limitation Endorsement quoted above specifically limits coverage under the Mount
Vernon primary policy only to bodily injury occurring on or within the premises owned,
occupied by or leased to Star Wars.

46. | Mount Vernon therefore timely and properly disclaimed coverage to Star Wars
and all other defendants herein.

47, Accordingly, Mount Vernon is entitled to a declaration that it has no obligation to
defend or indemnify the defendants herein as to the claims asserted in the Guillen Action.

AS AND FOR A FIFTH CAUSE OF ACTION

48. Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “47” as if fully set forth at length herein.
49. | The Mount Vernon primary policy further provides as follows:

SECTION 1-COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1. Insuring Agreement

a. We will pay those sums that the insured becomes obligated to pay as
damages because of “bodily injury” or “property damage” to which this
insurance applies. We will have the right and duty to defend the insured
against any “suit” seeking those damages. However, we will have no duty
to defend the insured against any “suit” seeking damages for “bodily
injury” or “property damage” to which this insurance does not apply. We
may, at or discretion, investigate any “occurrence” and settle any claim or
suit” that may result.

b. This insurance applies to “bodily injury” and “property damage” only if:

(1) The “bodily injury” or “property damage” is caused by an “occurrence”
that takes place in the “coverage territory”;

12

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 13 of 19

(2) The “bodily injury” or “property damage” occurs during the policy period.

2. Exclusions
This insurance does not apply to:

b. Contractual Liability

“Bodily injury” or “property damage” for which the insured is obligated to
pay damages by reason of the assumption of liability in a contract or
agreement. This exclusion does not apply to liability for damages:

(1) That the insured would have in the absence of the contract or agreement;
or

(2) Assumed in a contract or agreement that is an “insured contract”, provided
the “bodily injury” or “property damage” occurs subsequent to the
execution of the contract or agreement ....

* * *
PREMISES CONTRACTUAL LIABILITY LIMITATION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILIT COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY
COVERAGE PART

The definition of “insured contract” in the DEFINITIONS section is replaced by
the following:

“Insured contract” means:

a. A contract for a lease of premises. However, that portion of the contract
for a lease of premises that indemnifies any person or organization for
damage by fire to premises while rented to you or temporarily occupied by
you with permission of the owner is not an “insured contract”;

b, A sidetrack agreement;

C. Any easement or license agreement, except in connection with

13

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 14 of 19

construction or demotion operations on or within 50 feet of a railroad;

d. An obligation, as required by ordinance, to indemnify a municipality,
except in connection with work for a municipality;

e, An elevator maintenance agreement.

50. No coverage is afforded under the Mount Vernon primary policy for any
obligations assumed by defendant Star Wars pursuant to any contracts which are not an “insured
contract” as defined by the Mount Vernon primary policy endorsement above.

51. To the extent that defendant Star Wars entered into any written indemnification,
defense and/or hold harmless agreements, such contracts do not fall under the definition of an
“sured contract” in the Mount Vernon primary policy.

52. Mount Vernon does not owe a defense or indemnity to the defendants herein for
the claims asserted in the underlying Guillen Action for any amounts which may be owed under
any such written indemnification, defense and/or hold harmless agreement entered into by
defendant Star Wars.

53. Mount Vernon has properly disclaimed coverage for such claims herein.

54. By reason of the foregoing, no coverage is afforded to the defendants herein with
respect to the claims asserted in the Guillen Action.

55. By reason of the foregoing, Mount Vernon is therefore entitled to a declaration
that it has no obligation to defend or indemnify the defendants herein with respect to the claims

asserted in the Guillen Action,

AS AND FOR A SIXTH CAUSE OF ACTION

56. Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “55” as if fully set forth at length herein,

57. The Mount Vernon primary policy includes Endorsement L-232s (9/05), which

14

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 15 of 19

read as follows:
This Endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE FORM
CLASSIFICATION LIMITATION ENDORSEMENT

Coverage under this contract is strictly limited to the classification(s) and
code(s) listed on the policy Declarations page.

No coverage is provided for any classification(s) and code(s) not
specifically listed on the Declarations page of this policy.

All other terms and conditions of this policy remain unchanged. This
endorsement is a part of your policy and takes effect on the effective date of
your policy unless another effective date is shown.

58. The classifications under the Mount Vernon primary policy is as follows: 61228
for “Building or Premises — office -- other than not-for-profit (Excluding Products-Completed
Operations)”.

59. To the extent that the wrongful death and bodily injury claims alleged in the
Guillen Action arose out of Star Wars’ Products-Completed Operations, there is no coverage for
the defendants herein under the Mount Vernon primary policy with respect to the claims asserted
in the Guillen Action.

60. Mount Vernon properly disclaimed coverage to the defendants for the claims
asserted in the Guillen Action.

61. Accordingly, Mount Vernon does not owe any of the defendants a defense or
indemnity for any of the liability claims alleged in the underlying Guillen Action.

62. By reason of the foregoing, Mount Vernon is entitled to an order declaring that it

has no duty to defend or indemnify any of the defendants herein with respect to any and all of the

claims asserted in the underlying Guillen Action.

15

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 16 of 19

AS AND FOR A SEVENTH CAUSE OF ACTION

63. Mount Vernon repeats and realleges each and every allegation contained in the
complaint numbered “1” through “62” as if fully set forth at length herein.
64. On June 10, 2011, Mount Vernon issued excess policy number XL2117350A to
Star Wars for the policy period of June 10, 2011 to June 10, 2012 (the “Mount Vernon excess
policy”).
65. | The Mount Vernon excess policy includes the following language:
I- INSURING AGREEMENTS

This policy is excess insurance and follows the “underlying insurance” except as
otherwise stated in this policy.

1, We will pay those sums that the Insured must legally pay in excess
of the sums payable as “damages” in the “underlying insurance” or
which would have been payable but for the exhaustion of the
applicable Limit of Insurance.

66. The Mount Vernon excess policy’s Definitions section provides, in pertinent part,

as follows:
11, “Tnsured contract” means:

a, A contract for a lease of premises. However, that portion
of the contract for a lease of premises that indemnifies any
person or organization for damage by fire to premises while
rented to you or temporarily occupied by you with
permission of the owner is not an “insured contract”;

b. A sidetrack agreement;
C. Any easement or license agreement, except in connection

with construction or demotion operations on or within 50
feet of a railroad;

d. An obligation, as required by ordinance, to indemnify a
municipality, except in connection with work for a
municipality;

16

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 17 of 19

é. An elevator maintenance agreement.
67. The Mount Vernon excess policy also contains the following language:

V. EXCLUSIONS

This policy does not apply to:

1, Any “damage” not covered by the “underlying insurance”
* * _o*
4, “Damages” which an insured is obligated to pay by reason of the

assumption of liability in a contract or agreement. This exclusion does not
apply to liability for “damages”:

a That an insured would have in the absence of the contract or
agreement, or

b. Assumed in a contract or agreement that is an “insured contract”,
provided that “damage” occurs subsequent to the execution of the
contract or agreement. Solely for the purposes of liability assumed
in an “insured contract”, reasonable attorney fees and necessary
litigation expenses incurred by or for a party other than an insured
are deemed to be “damages”, provided:

(1) Liability to such party for, or for the cost of, that party’s
defense has also been assumed in the same “insured
contract”; and
(2) Such attorney fees and litigation expenses are for defense
of that party against a civil or alternative dispute resolution
proceeding in which damages to which this insurance
applies are alleged.
68. As stated above, the Mount Vernon excess policy excludes coverage for any
damage claims that are not covered by any underlying layer of insurance below the excess layer

_ of coverage afforded by the Mount Vernon excess policy.
69. The Mount Vernon primary policy provides coverage below the excess layer of

coverage provided by the Mount Vernon excess policy.

70. Accordingly, any and all bodily injury claims asserted in the Guillen Action that

17 : |
Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 18 of 19

are not covered by the Mount Vernon primary policy are similarly barred from coverage under
the Mount Vernon excess policy.

71. Jn addition, no coverage is afforded under the Mount Vernon excess policy for
any obligations assumed by defendant Star Wars pursuant to any contracts which are not an
“msured contract” as defined by the Mount Vernon excess policy endorsement above.

72. To the extent that defendant Star Wars entered into any written -indemnification,
defense and/or hold harmless agreements, such contracts do not fall under the definition of an

“dnsured contract” in the Mount Vernon excess policy.

73. Mount Vernon does not owe a defense or indemnity to the defendants herein for
the claims asserted in the underlying Guillen Action for any amounts which may be owed under
any such written indemnification, defense and/or hold harmless agreément entered into by
defendant Star Wars.

74. Mount Vernon has properly disclaimed coverage for such claims herein.

75. By reason of the foregoing, no coverage is afforded to the defendants herein
pursuant to the Mount Vernon excess policy with respect to the purported occurrence involving
decedent Jose Elias Guillen as alleged in the underlying Guillen Action.

76. By reason of the foregoing, Mount Vernon therefore is entitled to a declaration
that it has no obligation to defend or indemnify the defendants herein pursuant to the Mount
Vernon excess policy with respect to the claims asserted in the underlying Guillen Action.

WHEREFORE, plaintiff Mount Vernon hereby requests judgment declaring that Mount

Vernon has no obligation to defend or indemnify the defendants herein as to any of the

18

Case 1:15-cv-01184-KBF Document1 Filed 02/19/15 Page 19 of 19

claims asserted in the underlying Guillen Action, together with the costs, disbursements and
attorneys’ fees for this action, and any other relief that this Court may deem appropriate.
Dated: Mineola, New York

February 11, 2015

MIRANDA SAMBURSKY SLONE
SKLARIN VERVENIOTIS LLP

By: ~—
Stevey Ve eniotis (SV-8800)
Todd’M. Hellman (HMH-8890)
240’Mineoha Boulevard
Mineola, New York 11501
(516) 741-7676
File No.: 15-019

19

